             UNITED STATES COURT OF APPEALS FOR THE EIGHTH CIRCUIT
                           APPEARANCE OF COUNSEL

            USA ex rel. Holt                   Medicare Medicaid Advisors, et al.
Case Title: _______________________________ vs._________________________________

                                                            23-2564
The Clerk will enter my appearance as Counsel in Appeal No. _______________for the
following party(s): (please specify)

UnitedHealthcare Insurance Company




   Appellant(s)     Petitioner(s) ✔ Appellee(s)        Respondent(s)      Amicus Curiae         Intervenor(s)



Please compare your information below with your information on PACER. Any updates
or changes must be made through PACER’s Manage my Account.
               Kyle R. Hair                                   Kyle R. Hair
Attorney Name: ________________________ s/: ____________________________________
           Alston & Bird LLP
Firm Name: ___________________________________________________________________
                  1120 South Tryon St., Suite 300
Business Address: ______________________________________________________________
                Charlotte, NC 28203
City/State/Zip: _________________________________________________________________
                             704-444-1000
Telephone Number (Area Code):___________________________________________________
               kyle.hair@alston.com
Email Address: ________________________________________________________________




                                          CERTIFICATE OF SERVICE
                              July 10, 2023
 ✔ hereby certify that on ____________, I electronically filed the foregoing with the Clerk of the Court for the
_____I
United States Court of Appeals for the Eighth Circuit by using the CM/ECF system.

_____I further certify that some of the participants in the case are not CM/ECF users. I have mailed the foregoing
document by First-Class Mail, postage prepaid, or have dispatched it to a third-party commercial carrier for delivery
within 3 calendar days, to the following non-CM/ECF participants:




    Appellate Case: 23-2564              Page: 1         Date Filed: 07/10/2023 Entry ID: 5294168
